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6
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12                          IN THE UNITED STATES DISTRICT COURT
13                              FOR THE DISTRICT OF ARIZONA
14
                                                             INFORMATION
15     United States of America,
                                                             Violations:
16
                             Plaintiff,
17                                                           18 U.S.C. § 666(a)(1)(A)
                                                             (Embezzlement by a Public
18            vs.                                            Official)
                                                             (Felony)
19                                                           (Count 1)

20     Elizabeth Gutfahr,                                    18 U.S.C. § 1956(a)(1)(B)(i)
                                                             (Money Laundering)
21                           Defendant.                      (Felony)
                                                             (Count 2)
22
                                                             26 U.S.C. § 7201
23                                                           (Tax Evasion)
                                                             (Felony)
24                                                           (Count 3)
25    THE UNITED STATES CHARGES:
26          At all relevant times to this Information:
27                                    Introductory Allegations
28          1.      Defendant, ELIZABETH GUTFAHR (GUTFAHR), was a resident of
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1     Santa Cruz County, Arizona.
2            2.     Defendant GUTFAHR was the elected Santa Cruz County (County),
3     Arizona, Treasurer from approximately January 2013 until her resignation on or about
4     April 12, 2024.
5            3.     Before being elected Treasurer, defendant GUTFAHR worked for a real
6     estate and land development company and became experienced with accounting.
7            4.     As Treasurer, defendant GUTFAHR was an agent for the County; defendant
8     GUTFAHR was entrusted with the collection of real and personal property taxes and the
9     safeguarding of these public funds for the use and benefit of County entities, including
10    school and fire districts.
11           5.     As Treasurer, defendant GUTFAHR maintained the Countys JP Morgan
12    Chase bank accounts, including a checking account ending in 2669 (the Chase Checking
13    Account), and a savings account ending in 6320 (the Chase Savings Account).
14           6.     Beginning on or about January 8, 2013, defendant GUTFAHR became a
15    signer on the Countys Chase Savings and Checking Accounts.
16           7.     The Santa Cruz County Treasurers Office (Treasurers Office) is located
17    within Santa Cruz County at the Santa Cruz County Complex in Nogales, Arizona.
18
                   Defendant GUTFAHRS Business Names and Bank Accounts
19
20                                 Rio Rico Real Estate and Consulting
21           8.     Defendant GUTFAHR held an Arizona self-employed real estate brokers
22    license from approximately 2008 until it expired on December 31, 2012, with an associated
23    business name and address of Rico Real Estate and Consulting on Camino Kansas in Rio
24    Rico, Arizona, which was also defendant GUTFAHRs residence.
25           9.      On or about February 23, 2011, defendant GUTFAHR opened a Wells Fargo
26    business checking account ending in 8516, under the name Elizabeth Gutfahr, DBA Rio
27    Rico Real Estate and Consulting, as the sole proprietor and sole signer on the account (the
28    Wells Fargo Account).


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1           10.      The business account application for defendant GUTFAHRs Wells Fargo
2     Account stated that Rio Rico Real Estate and Consulting was a real estate sales and
3     consulting business.
4           11.      However, as of January 25, 2024, the Arizona Department of Economic
5     Security had no record of a business with the name Rio Rico Real Estate and Consulting.
6           12.      Rio Rico Real Estate and Consulting was not registered with the Arizona
7     Corporation Commission.
8           13.      Rio Rico Real Estate and Consulting was not registered with or assigned an
9     Employer Identification Number (EIN) with the Internal Revenue Service (IRS).
10          14.      On or about March 12, 2024, defendant GUTFAHRs Wells Fargo Account
11    was closed.
12
13                                   Rio Rico Consulting, LLC
14          15.      On or about January 29, 2024, defendant GUTFAHR opened a BMO bank
15    business checking account, account ending in 6896, under the name Rio Rico Consulting,
16    LLC (the BMO Account).
17          16.      The name Rio Rico Consulting, LLC, was not located during a search of the
18    Arizona Corporation Commissions business database.
19
20                    Double D Cattle Company of Santa Cruz County, LLC
21          17.      On or about May 24, 2019, defendant GUTFAHR formed the Double D
22    Cattle Company of Santa Cruz County, LLC.
23          18.      On or about August 9, 2019, defendant GUTFAHR opened a business
24    checking account ending in 0207 under the name Double D Cattle Company of Santa Cruz
25    County, LLC at Wells Fargo Bank (the Double D Account). Defendant was listed on
26    the account application as a co-owner with control of the entity and was also a signer on
27    the account.
28


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1                                      Rancho San Cayetano
2            19.     On or about October 15, 2019, defendant GUTFAHR formed Rancho San
3     Cayetano, LLC, located in Tumacacori, Arizona.
4            20.     Rancho San Cayetano is a horse boarding facility with approximately 9,000
5     square feet of structures, including defendant GUTFAHRs personal residence.
6            21.     On or about October 23, 2019, defendant GUTFAHR opened a business
7     checking account ending in 2048 under the name Rancho San Cayetano, LLC, at Wells
8     Fargo Bank (the Rancho San Cayetano Account).
9            22.     Rancho San Cayetano, LLC, operates as a horse boarding business.
10
11                   The Scheme to Defraud the People of Santa Cruz County
12                                The Fraudulent Wire Transfers
13           23.     Between on or about March 13, 2014, through on or about March 28, 2024,
14    defendant GUTFAHR, using her position of trust as the Santa Cruz County Treasurer, stole
15    approximately $38,712,100.00 in public funds.
16           24.     Defendant GUTFAHR fraudulently wired the public funds from the
17    Countys Chase Savings and Checking Accounts to her Wells Fargo Account and her BMO
18    Account using approximately 187 wire transfers to steal the Countys funds in each of the
19    years, as follows: 1
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22
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27           1
              A total of 186 wire transfers were drawn on the Countys Chase Savings Account.
28    Only one (1) wire transfer was drawn on the Countys checking account on November 2,
      2021, in the amount of $225,000.00.

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1
2                                  Number of
                           Year      Wire    Amount Embezzled
3                                  Transfers
4                          2014        6           $386,100.00
                           2015       12           $948,000.00
5                          2016       13           $920,000.00
6                          2017       18         $1,970,000.00
                           2018       23         $2,160,000.00
7                          2019       24         $3,560,000.00
8                          2020       26         $4,525,000.00
                           2021       18         $4,913,000.00
9                          2022       18         $5,165,000.00
10                         2023       21        $11,350,000.00
                           2024        8         $2,815,000.00
11                         Total     187        $38,712,100.00
12
13           25. Defendant GUTFAHR wire transferred all the public funds that she embezzled
14    to her Wells Fargo Account until on or about January 30, 2024, when defendant
15    GUTFAHR began to wire transfer the stolen public funds to her BMO Account, which
16    defendant GUTFAHR opened on or about January 29, 2024.
17           26.    Defendant GUTFAHR was able to wire transfer the funds that she embezzled
18    to her Wells Fargo and BMO Accounts by fraudulently circumventing a two-step approval
19    process used by Santa Cruz County to initiate and approve the wire transfer of County
20    funds. The two-step approval process for wire transfers required that the Chief Deputy
21    Treasurer (Chief Deputy) initiate a wire transfer using a computer token assigned to the
22    Chief Deputy for this purpose. After the Chief Deputy initiated a wire transfer, the
23    Treasurer approved the wire transfer using a separate computer token assigned to the
24    Treasurer for the approval process. This process meant that the same person could not both
25    initiate and approve any one wire transfer.
26           27.    However, defendant GUTFAHR fraudulently subverted the two-step
27    approval process by using the Chief Deputys assigned computer token to initiate wire
28    transfers that defendant GUTFAHR would then approve.

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1            28.      The wire transfer of County funds could only be completed at the Treasurers
2     Office.
3
4                Defendant GUTFAHRs Ongoing Concealment of the Embezzlment
5               29.   Defendant GUTFAHR engaged in ongoing fraudulent practices to hide the
6     true purpose of the fraudulent wire transfers and conceal her thefts over time.
7            30.      Defendant GUTFAHR lied to the Countys Chief Deputy to explain the wire
8     transfers to defendant GUTFAHRs Wells Fargo Account by telling the Chief Deputy that
9     the account was a County savings account used to earn interest for the County.
10           31.      However, no legitimate purpose existed for defendant GUTFAHRs
11    fraudulent wire transfers of the public funds to defendant GUTFAHRs Wells Fargo and
12    BMO Accounts.
13           32.      Neither Rio Rico Real Estate and Consulting (business name on the Wells
14    Fargo Account) or Rio Rico Consulting, LLC (business name on the BMO Account)
15    performed services for Santa Cruz County.
16           33.      Instead, defendant GUTFAHR fraudulently used the Rio Rico Real Estate
17    and Consulting name on the Wells Fargo Account and the business name Rio Rico
18    Consulting, LLC, on the BMO Account to conceal the embezzlement of public funds by
19    making it appear that the transfers had a legitimate business purpose for the County.
20           34.      Defendant GUTFAHR repeatedly concealed her thefts by excluding the
21    fraudulent wire transfers from the Countys accounting system and by falsely inflating cash
22    reconciliation balances from at least 2018 through 2023 to conceal the diminishing cash
23    balances caused by her embezzlement.
24           35.      From about 2018 through 2020, defendant GUTFAHR repeatedly falsified
25    cash reconciliation reports to conceal her thefts. Defendant GUTFAHR manipulated the
26    cash reconciliation records by falsely reporting that some payments for County expenses,
27    although posted to the bank accounts, had not been recorded on the County general ledger,
28    all while defendant GUTFAHR knew that the payments had been posted to the Countys


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1     general ledger.
2            36.    From about 2021 to 2023, defendant GUTFAHR falsified the cash
3     reconciliation reports by reporting that the County had an investment account at UBS
4     Financial Services with a balance of $14,000,000.00; $17,200,000.00; and $26,531,512.60
5     as of June 30 for each of the years 2021 through 2023. In support of these false investment
6     balances, defendant GUTFAHR created false UBS statements reflecting these false
7     investment amounts to conceal the millions of dollars she had stolen from the people of
8     Santa Cruz County.
9
10            Defendant GUTFAHRS Personal Enrichment with the Public Funds
11           37.    Approximately 97% of all deposits into defendant GUTFAHRs Wells Fargo
12    Account and BMO Account were stolen from the Countys Chase Savings and Checking
13    Accounts.
14           38.    Defendant GUTFAHR used the millions of dollars of stolen money she
15    deposited into the Wells Fargo and BMO Accounts for gross personal enrichment,
16    including, but not limited to, the purchase of real property described below.
17           39.    On or about January 29, 2019, defendant GUTFAHR withdrew
18    approximately $670,579.53 of stolen public funds from her Wells Fargo Account, Check
19    Number 1929, for the purchase of Property A on San Gertrudis Lane, Tumacacori, Arizona,
20    with a sales price of approximately $1.2 million.
21           40.    On or about March 27, 2019, defendant GUTFAHR withdrew approximately
22    $96,200.05 of stolen public funds in cash from her Wells Fargo Account to obtain a
23    cashiers check to purchase Property B on San Gertrudis Lane, Tumacacori, Arizona,
24    selling for approximately $800,000.00.
25           41.    On or about August 15, 2019, defendant GUTFAHR withdrew
26    approximately $757,536.29 in stolen public funds from her Wells Fargo Account, Check
27    Number 2257, for the purchase of defendant GUTFAHRs Rancho San Cayetano ranch,
28    with a sales price of approximately $2.7 million. The buyer was defendant GUTFAHRs


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1     Double D Cattle Company of Santa Cruz County, LLC (later the Gutfahr Land and Cattle
2     Company).
3            42.     Defendant GUTFAHR paid a home remodeler with the public funds that she
4      stole from the County and has described the remodel of her Rancho San Cayetano
5      premises, as a huge overhaul that included new plumbing, new floors, and new
6      electrical.
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21           43.     On or about May 25, 2021, defendant GUTFAHR withdrew approximately
22    $568,899.95 in stolen public funds in cash from defendant GUTFAHRs Wells Fargo
23    Account to obtain a cashiers check, remitter Double D Cattle Company of Santa Cruz
24    County, for the cash purchase of Property C on Duquesne Road, Patagonia, Arizona.
25           44.     Between March 13, 2014, and March 28, 2024, defendant GUTFAHR also
26    used stolen public funds from her Wells Fargo Account and her BMO Account to pay her
27    American Express personal and business credit card accounts for Rancho San Cayetano
28    and Rio Rico Real Estate, accounts ending in 901002, 712003, 566003, 564008, 362000,


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1     092006, in the total amount of approximately $7,323,494.97.
2           45.    Between on or about March 13, 2014, and March 12, 2024, defendant
3     GUTFAHR withdrew a total of approximately $17,363,738.00 in cash and checks from the
4     stolen public funds in her Wells Fargo Account and BMO Account.
5           46.    Defendant GUTFAHR used the stolen public funds to pay for the expenses
6     of the Double D Cattle Company and Rancho San Cayetano, including payments to
7     livestock companies, and for hay and veterinary bills.
8           47.    Defendant GUTFAHR also fraudulently used the stolen public funds to
9     purchase numerous vehicles, including, but not limited to Jeeps, Ford trucks, a Mercedes
10    Benz, Cadillacs, and an Airstream touring coach.
11
12                              Defendants GUTFAHRs Tax Evasion
13          48.    The Internal Revenue Service (IRS) was an agency of the United States
14    Department of Treasury responsible for administering and enforcing the tax laws of the
15    United States and collecting taxes owed to the United States.
16          49.    The tax laws of the United States require every citizen and resident of the
17    United States who receives income in excess of the minimum filing amount established by
18    law for a particular tax year to make and file annually a Form 1040, U.S. Individual Income
19    Tax Return (Form 1040), wherein a taxpayer reports certain required items including
20    income, and any tax due and owing.
21          50.    Defendant GUTFAHR was a citizen of the United States.
22          51.    Between on or about March 13, 2014, and on or about March 28, 2024,
23    Defendant GUTFAHR transferred the $38,712,100.00 that she stole from the County to
24    Defendant GUTFAHRs bank accounts under the names Rio Rico Consulting and Real
25    Estate (the Wells Fargo Account) and Rio Rico Consulting (the BMO Account) to willfully
26    attempt to evade and defeat the payment of income tax.
27          52.    Defendant GUTFAHR did not file a Form 1040 for any of the calendar years
28    2014 through 2023, and the resultant tax due and owing is approximately $13,143,526.00.


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1                                              Count 1
                                       18 U.S.C. § 666(a)(1)(A)
2                     (Federal Program Theft  Embezzlement by a Public Official)
3
4             The Introductory Allegations in paragraphs 1 through 22 and the Scheme to Defraud
5      in paragraphs 23 through 47 are re-alleged and incorporated as to Count 1, as if set forth in
6      full herein.
7             53.      On or about November 21, 2019, through on or about March 28, 2024, in the
8      District of Arizona, the defendant, ELIZABETH GUTFAHR, being an agent of Santa Cruz
9      County, said County receiving in the one year periods in 2019, 2020, 2021, 2022, 2023,
10     and 2024, benefits in excess of $10,000.00, under a Federal program involving a grant,
11     contract, subsidy, loan, guarantee, insurance and other form of Federal assistance,
12     embezzled and stole property, that is, U.S. Currency, worth more than $5,000.00, and
13     owned by and under the care, custody, and control of Santa Cruz County, Arizona, as
14     further described below.
15
16                                Date                                    Amount
17           November 21, 2019, to December 31, 2019                              $325,000.00
18           2020                                                               $4,525,000.00
19           2021                                                               $4,913,000.00
20           2022                                                               $5,165,000.00
21           2023                                                              $11,350,000.00
22           January 1, 2024, to March 28, 2024                                 $2,815,000.00
23                                                TOTAL                        $29,093,000.00
24
25            All in violation of Title 18, United States Code, Section 666(a)(1)(A).
26
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28


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1                                              Count 2
                                      18 U.S.C. 1956(a)(1)(B)(i)
2                                        (Money Laundering)
3
4             The Introductory Allegations in paragraphs 1 through 22 and the Scheme to Defraud
5      in paragraphs 23 through 47 above are re-alleged and incorporated as to Count 2, as if set
6      forth in full herein.
7             54.     On or about March 2, 2021, in the District of Arizona, the defendant,
8      ELIZABETH GUTFAHR, did knowingly and willfully conduct a financial transaction
9      affecting interstate and foreign commerce, which involved the proceeds of a specified
10     unlawful activity, that is, wire fraud in violation of Title 18, United States Code, Section
11     1343, knowing that the transaction was designed in whole or in part to conceal and disguise
12     the nature, location, source, ownership and control of the proceeds of said specified
13     unlawful activity and that while conducting such financial transactions, knew that the
14     property involved in the financial transaction, that is, monetary instruments, represented
15     the proceeds of some form of unlawful activity, that is, on or about March 2, 2021,
16     defendant GUTFAHR completed an online transfer in the amount of $91,242.85, the
17     proceeds of wire fraud, from defendant GUTFAHRs Rio Rico Real Estate and Consulting
18     Wells Fargo account ending in 8516, to defendant GUTFAHRs Double D Cattle Company
19     of Santa Cruz County, LLC, Wells Fargo account ending in 0207; and, on the same day
20     purchased a 2021 Ford F350, VIN number ending 0993, from Horne Ford of Nogales, with
21     Check Number 1085, dated March 2, 2021, drawn on Wells Fargo Account ending in 0207,
22     in the amount of $91,242.85, all to conceal the nature, location, source, ownership and
23     control of the proceeds of wire fraud.
24            All in violation of Title 18, United State Code, Section 1956(a)(1)(B)(i).
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1                                                       Count 3
                                                    26 U.S.C. § 7201
2                                                    (Tax Evasion)
3
4             The Introductory Allegations in paragraphs 1 through 22, the Scheme to Defraud in
5      paragraphs 23 through 47, and the Tax Evasion allegations in paragraphs 48 through 52
6      are re-alleged and incorporated as to Count 3 as if set forth in full herein.
7             55.      From on or about March 13, 2014, through on or March 28, 2024, the
8      defendant, ELIZABETH GUTFAHR, in the District of Arizona, and elsewhere, willfully
9      attempted to evade and defeat the payment of income tax due and owing by defendant
10     GUTFAHR to the United States of America for the tax year 2023, by committing the
11     following affirmative act, among others:
12                  a. Defendant GUTFAHR concealed a source of income when defendant
13                     GUTFAHR directed wire transfers from the Santa Cruz County JP
14                     Morgan Chase savings account ending in 6320 and checking account
15                     ending in 2669 to defendant GUTFAHRs Wells Fargo Bank Rio Rico
16                     Real Estate and Consulting account ending in 8516.
17
                       All in violation of Title 26, United States Code, Section 7201.
18
                       Dated this 19th day of November, 2024.
19
20
              COREY R. AMUNDSON                                   GARY M. RESTAINO
21            Chief, Public Integrity Section                     United States Attorney
              U.S Department of Justice                           District of Arizona
22
23            NICHOLAS        Digitally signed by                              Digitally signed by JANE
                                                                               WESTBY
                              NICHOLAS CANNON
                                                                               Date: 2024.11.19
24            CANNON          Date: 2024.11.19
                              14:29:48 -07'00'                                 13:32:53 -07'00'

              Nicholas W. Cannon                                  Jane L. Westby
25            Trial Attorney                                      Assistant U.S. Attorney
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                                                         - 12 -
